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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISION

 

UNITED STATES OF AMERICA, 10-cr-10017
Plaintiff,
ORDER TO COMPLY WITH
--VS- THE DUE PROCESS
PROTECTIONS ACT
TRAVIS WEASEL,
Defendant.

 

Pursuant to the Due Process Protections Act, the Court confirms the United States’
obligation to disclose to the defendant all exculpatory evidence -- that is, evidence that
favors the defendant or casts doubt on the United States’ case, as required by Brady v.
Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS the United States to do so.
Failure to disclose exculpatory evidence in a timely manner may result in consequences,
including, but not limited to, exclusion of evidence, adverse jury instructions, dismissal of
charges, contempt proceedings, disciplinary action, or sanctions by the Coyrt.

   

 

William D. Gerd
US Magistrate Judge

 
